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                       Oklahoma City PD
                       700 Colcord Dr
                       Oklahoma City, OK, 73102
                       (405) 297-1000                                                             Incident Report 2024-0002121-1 (Report 1 of 2)



     Incident Report 2024-0002121-1
     Primary Oﬃcer: Layman, Colton (57124)                Assisting Oﬃcers: Hoffman, Bryan (52481), Beloncik, Clifford (51457)
     Assigned District: Criminal Intelligence            District, Beat, Zone: SPRING,SL1,C4




     Overview
     Incident Overview
        CFS #: 202401-0020006               Incident Type: Information       Incident From Date: 01/09/2024          Incident From Time: 15:08
        Incident To Date: 01/09/2024               Incident To Time: 15:08     Reported On Date: 01/09/2024           Reported On Time: 15:08
        Location: NW 23rd St & I-235 N, Oklahoma City, Oklahoma County, OK, 73103, USA                  Location Note: 1618200
        Handle with care?: Not Applicable
        Mental Health Related
        If YES, you must complete a Mental Health Form in the subject's Name Card.
        Is this Incident Mental Health related?: No


        Naloxone Administration
        Did you administer or leave NARCAN?: No



     Offenses
     22500 - 90Z - ALL OTHER OFFENSES - FEL                                  Author: Layman, Colton

        Offense: 22500 - 90Z - ALL OTHER OFFENSES - FEL                  NIBRS UCR Code: All Other Offenses           Severity: Felony
        Completion: Completed               Location Category: Highway/Road/Alley/Street/Sidewalk
        Additional Details
        Offender is Suspected of Using?: No              Was Bias Motivation Involved?: No




     Names
     Involved Person - GOLSTON, MONDALE LARUE                                    Author: Beloncik, Clifford

        Involvement
        Role: Involved Person            Offense: 22500 - 90Z - ALL OTHER OFFENSES - FEL

        Identity
        Type: Known           Last Name: GOLSTON            First Name: MONDALE         Middle Name: LARUE            DOB:            /1992

        Identifying Documents
        ID Type: Driver's License           Issuing State: Oklahoma       ID Number: H994227708

        Description
        Age: 31         Sex: Male         Race: Black or African American       Ethnicity: Not Hispanic or Latino




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     Names (continued)
     Involved Person - GOLSTON, MONDALE LARUE (continued)                                           Author: Beloncik, Clifford

        Height Type: Exact Height Known                 Height: 5' 7"    Weight Type: Exact Weight Known             Weight: 190          Eye Color: Brown
        Hair Color: Black

        Contact
        Address Type: Home              Location:                           IDABEL OK 74745
        Phone Number Type: Home                  Phone Number:                3989



     Involved Person - BILLS, GLORIA                            Author: Layman, Colton • Edited by Hoffman, Bryan

        Involvement
        Role: Involved Person            Offense: 22500 - 90Z - ALL OTHER OFFENSES - FEL

        Identity
        Type: Known           Last Name: BILLS            First Name: GLORIA         DOB:         995       Homeless?: No

        Identifying Documents
        ID Type: Driver's License           Issuing State: Arkansas         ID Number:      940590103

        Description
        Age: 28         Sex: Female          Race: Black or African American          Ethnicity: Not Hispanic or Latino          Eye Color: Brown
        Hair Color: Black          Hair Length: Long          Hair Style: Straight     Build: Heavy      Resident Status: Nonresident
        Language: English

        Contact
        Address Type: Home              Location:                       Hugo OK 74743



     Vehicles
     Involved Vehicle - 2012 TOYOTA Camry - 04859CH (OK)                                        Author: Layman, Colton • Edited by Hoffman, Bryan

        Vehicle Information
        Role: Involved Vehicle           Offense: 22500 - 90Z - ALL OTHER OFFENSES - FEL

        Vehicle Details
        Vehicle Type: Automobiles              Year: 2012       Make: Toyota         Model: Camry       Style: 4 Door Sedan; Truck / Pick-up 4 Door
        Color: Maroon           License Plate Number: 04859CH              State: Oklahoma       License Plate Type: Passenger Car
        VIN: 4T1BF1FK0CU524229

        Related People
        Person: BILLS, GLORIA              Relationship: Legal Owner




     Property
     None reported.



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     Property (continued)

     Narrative by Beloncik, Clifford                                           First Submitted: 01/09/2024 17:17
        BWC Video Available?: Yes               In Car Video Available?: Yes

        On 1/9/24 at approximately 1510 hours I responded to the area of NE 23rd St & N I-235 SB to assist OBN/DEA in making
        a traﬃc stop on a vehicle. Sgt Hoffman #2018 and I were able to ﬁnally catch up to the vehicle on E I-40 around Scott St,
        traveling East on I-40. The vehicle was a red Toyota Corolla, Tribal tag: 04859CH.


        We were notiﬁed that the agent following the vehicle had PC for the traﬃc stop in OKC limits, so a traﬃc stop was conducted
        at I-40 and S Sooner Ave. The vehicle exited the highway and stopped on the service road of I-40 at the red light at Sooner.
        Due to not being very clear on whether this was going to be treated like a felony stop or not, I observed Sgt Hoffman
        approaching the driver side of the vehicle, so I approached the passenger side. I observed a black male sitting in the
        passenger seat. The passenger window was rolled up, so I tapped on the window for him to roll it down. When he rolled
        the window down, I could smell a strong odor of what I knew to be green marijuana coming from the recently rolled down
        window. I had previously not smelled the marijuana odor in the air.


        I made contact with the passenger and asked him for his ID, to which he provided. I asked the passenger to step out of the
        vehicle, which he complied. The passenger was identiﬁed as IP Mondale Golston. Mondale had his wallet and phone on
        him, as well as $500 in hundred dollar bills in his left pocket. I originally left the money in his pocket, and took the wallet
        and phone, along with a lighter out of his possession. I then escorted Mondale back to my patrol car where he was placed
        in the backseat. Mondale was not in handcuffs and was not told he was under arrest. When he was placed in my backseat,
        I turned the backseat camera on. Mondale notiﬁed me that he had his medical marijuana card, which I veriﬁed in his wallet
        to be valid. Mondale notiﬁed me that there was weed in the car near his passenger seat in a green bag. I placed Mondale's
        phone on airplane mode while it was sitting on my dash.


        I was notiﬁed by other responding agents from DEA/OBN that there was a considerable size of methamphetamine inside
        the vehicle. I did not take part in the search, but I observed the search of the vehicle and did see a canvas bag full of ziplok
        bags of a crystal substance I believed to be methamphetamine. I also observed a pistol being pulled out of a purse, but I
        had no dealings with the gun or drugs. At this time, I placed Mondale into handcuffs and took the money out of his pocket.
        I counted the money in front of him and placed it in his wallet, all on body camera.


        At the request of the OBN agent, I transported Mondale to the DEA oﬃce at NE 122nd St & N Kelley Ave. Once there, I
        escorted him inside where he was left in the agent's custody, along with his property. I then left the DEA property.


        For more information see other reports.


        ---End of Report---
     Narrative by Hoffman, Bryan                                               First Submitted: 01/10/2024 08:01
        BWC Video Available?: Yes               In Car Video Available?: Yes




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     Narrative by Hoffman, Bryan (continued)                                   First Submitted: 01/10/2024 08:01
        On 1/9/24 at approximately 1510 hours hours I was working as 1C16 and heard OBN/DEA agents asking for assistance
        on stopping a vehicle near NE 23rd St and N I-235 SB. SGT Belonick #1955 and I were able to catch up to the agents and
        the suspect vehicle around E I-40 and Scott St, going Eastbound on I-40. The suspect vehicle was a Maroon, 2012 Toyota
        Camry, with tribal tags #04859CH.

        The agents informed us they had Probable Cause (PC) for a traﬃc stop in Oklahoma City limits. They stated it was speeding
        doing 69 and had failed to use its turn signal several times when changing lanes. The vehicle was occupied two times. A
        traﬃc stop was conducted at I-40 EB and S Sooner Ave. The vehicle exited at S Sooner Ave and came to a stop at a Red
        light at the Service Road for I-40 and S Sooner Ave. It was not clear if this was a high risk stop or to be treated like a regular
        traﬃc stop. We were told OHP was in route and was going to conduct a high risk if they could.

        I approached the driver side of the vehicle and the driver already had her license and insurance in her hands waiting for me.
        I informed her who I was and why I stopped her. I had the driver step out out of the vehicle. She was identiﬁed as IP-Gloria
        Bills. I asked Gloria if there was anything illegal or any weapons in the vehicle, she said no. I escorted Gloria to my patrol
        vehicle and had her sit in the back seat of my patrol vehicle. Gloria was not in handcuffs and was not told she was under
        arrest at this point. I turned on my back seat camera and turned off my body camera.

        Other oﬃcer's and myself were notiﬁed by DEA/OBN oﬃcers that there was a good amount of methamphetamine in the
        vehicle. I did not search the vehicle. I did observe a White canvas bag in the ﬂoor board of the passenger side of the vehicle
        during the traﬃc stop. I later observed that bag out of the vehicle with a large amount of crystal substance in clear zip lock
        bags that I believed to be Methamphetamine. I observed a Turquoise semi-auto pistol being pulled out of the vehicle. I did
        not see where the pistol was pulled from. I had no dealings with the drugs or pistol. At this time I went back to my patrol
        vehicle and had Gloria step out. She was placed under arrest and placed into handcuffs by SGT Layman. SGT Layman took
        custody of Gloria and placed her in his back seat. I ran both Gloria and IP-Mondale Golston and they came back clear of
        warrants.

        At the request of OBN agents I stayed on scene with the vehicle. They informed me a wrecker had already been called by
        OHP and that it was to take custody of the vehicle. A OHP requested wrecker arrived and took custody of the vehicle.

        See other reports for further information.
     Narrative by Layman, Colton                                               First Submitted: 01/10/2024 18:22
        BWC Video Available?: Yes               In Car Video Available?: Yes

        On 1/9/2024 at approximately 1508 hours, I was working street narcotics overtime as U41. I heard over the radio undercover
        oﬃcers were requesting assistance with a vehicle they believed was being used in drug distribution. I was advised via the
        radio it was a DEA case.

        I heard over the radio the vehicle was speeding and had completed an improper lane change. I saw Sgt. Hoffman had
        stopped the vehicle on the east bound exit ramp of I-40 for S Sooner Road. I made contact with the driver Gloria Bills. I asked
        Gloria for consent to search her car which she said no. I approached the vehicle and smelled a strong odor of marijuana
        and I also saw white containers commonly used in the sale of marijuana. I asked Gloria if she had a medical marijuana card
        to which she responded "I don't smoke".

         I spoke with Oklahoma Bureau of Narcotics agent David Jehle who was on scene. David advised me a K9 unit was in-route
        to the stop. I saw an Oklahoma County Deputy arrive on scene with a K9. I was advised by the K9 unit the dog alerted to the
        vehicle. I saw David search the vehicle and pull out a Marshal's department store bag with several bags of a white crystal
        like substance in it. Based on my training and experience I knew the substance to be methamphetamine.


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     Narrative by Layman, Colton (continued)                            First Submitted: 01/10/2024 18:22
        I saw David take custody of the narcotics. David requested I transport Bills to the DEA oﬃce near NW 122nd Street and N
        Kelley Avenue. I did so and gave custody of Bills to DEA agents.

        End of Report.

        Off. C. Layman #2321




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